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                                            April 18, 2014




 The Honorable Richard G. Andrews                                      VIA ELECTRONIC FILING
 United States District Court
 J. Caleb Boggs Federal Building
 844 N. King Street
 Wilmington, DE 19801-3555

          Re:     Sanofi-Aventis U.S. LLC, et al. v. Eli Lilly and Company,
                  C.A. No. 14-113-RGA

 Dear Judge Andrews:

        Following our April 14, 2014 Rule 16 conference in the above action, the parties jointly
 submit the accompanying (separately docketed) proposed scheduling order for the Court’s
 consideration. It does not contain any disputed language, and if acceptable to Your Honor, it is
 ready for entry.

                                                       Respectfully,

                                                       /s/ Steven J. Balick

                                                       Steven J. Balick (#2114)

 SJB/nlm

 cc:      Brian E. Farnan, Esquire (via electronic mail; w/proposed order)
          Bruce M. Wexler, Esquire (via electronic mail; w/proposed order)
          Mark A. Perry, Esquire (via electronic mail; w/proposed order)




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